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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X               01/08/2020
                                                              :
 UNITED STATES OF AMERICA,                                    :
                                              Plaintiff,      :
                                                              :    19 Cr. 366 (LGS)
                            -against-                         :
                                                              :        ORDER
 STEPHEN M. CALK,                                             :
                                              Defendant, :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, by email to Chambers on January 6, 2020, the parties jointly proposed

redactions to certain exhibits filed in support of the Government’s opposition to Defendant’s

pretrial motions. Per this Court’s Orders (Dkt. Nos. 35 & 43), the exhibits and Defendant’s

consolidated reply in support of his pretrial motions were filed under seal pending resolution of

the redaction requests. It is hereby

        ORDERED that the parties’ request for redactions is GRANTED. Although “[t]he

common law right of public access to judicial documents is firmly rooted in our nation’s

history,” this right is not absolute, and courts “must balance competing considerations against”

the presumption of access. Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 119–20 (2d Cir.

2006) (internal quotation marks omitted); see also Nixon v. Warner Commc’ns., Inc., 435 U.S.

589, 599 (1978) (“[T]he decision as to access is one best left to the sound discretion of the trial

court, a discretion to be exercised in light of the relevant facts and circumstances of the particular

case.”). Where “access . . . might adversely affect law enforcement interests or judicial

performance,” this “should be weighed against the presumption of access.” United States v.

Amodeo, 71 F.3d 1044, 1050 (2d Cir. 1995); accord United States v. Armstrong, 185 F. Supp. 3d

332, 337 (E.D.N.Y. 2016). Similarly, “the privacy interests of innocent third parties should
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weigh heavily in a court's balancing equation.” Amodeo, 71 F.3d at 1050 (alterations omitted);

accord United States v. Cohen, 366 F. Supp. 3d 612, 620 (S.D.N.Y. 2019). And, “[w]here

testimony or documents play only a negligible role in the performance of Article III duties, the

weight of the presumption is low and amounts to little more than a prediction of public access

absent a countervailing reason.” Amodeo, 71 F.3d at 1050. Filing the above-referenced

documents in redacted form is necessary to prevent the unauthorized dissemination of sensitive

personal information and to protect the integrity of law enforcement and judicial proceedings. It

is further

        ORDERED that the parties shall file the above-mentioned documents with any proposed

redactions by January 10, 2020.

Dated: January 8, 2020
       New York, New York




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